 

 

APPEARANCE SHEET
FOR THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA
ABINGDON DIVISION

caseno.: 12021 £1 5 :

DATE: 3/9/21

UNITED STATES OF AMERICA
v.
JAAP LIJBERS

TYPE OF HEARING: bf rh onmevet / Dettatian

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PARTIES:
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Recorded by: ELLA SURBER Time in Court: ol} oh:

 

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